      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 1 of 14 PageID #:1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

                                   CASE NO.: ______________

TANISHA ROBERSON, an Illinois
resident, individually and on behalf of all
others similarly situated,

       Plaintiff,

v.
                                                       JURY TRIAL DEMANDED
HELZBERG’S DIAMOND SHOPS, LLC
f/k/a HELZBERG’S DIAMOND SHOPS,
INC., a Missouri limited liability company,

      Defendant.
_____________________________________/

                                CLASS ACTION COMPLAINT

       Plaintiff Tanisha Roberson (“Ms. Roberson” or “Plaintiff”) brings this class action against

Defendant Helzberg’s Diamond Shops, LLC f/k/a Helzberg’s Diamond Shops, Inc. (“Helzberg”

or “Defendant”), as to its “virtual try-on” feature on its website, www.helzberg.com, pursuant to

the Illinois Biometric Information Privacy Act, 740 ILCS § 14/1 et seq., and alleges, based upon

personal knowledge as to herself and her own acts and experiences, and on information and belief

as to all other matters based upon, inter alia, the investigation of counsel, as follows:

                                        INTRODUCTION

       1.      This is a class action brought by an Illinois citizen against the Missouri-

headquartered company Helzberg’s Diamond Shops, LLC for collection without prior consent of

the hand geometry data of Plaintiff and a potential class of other visitors to Helzberg’s website

who used the Virtual Try-On feature.
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 2 of 14 PageID #:2




       2.      The Illinois General Assembly passed the Biometric Information Privacy Act of

2008, 740 ILCS § 14/1 et seq. (“BIPA”) in response to the increasing prevalence and proliferation

of collection of biometric information without prior consent.

       3.      BIPA recognizes that biometric information is “unlike other unique identifiers that

are used to access finances or other sensitive information,” in that it cannot be changed and is

“biologically unique to the individual.” 740 ILCS § 14/5(c). In contrast to a compromised social

security number, which can be changed, an individual whose biometrics are compromised “has no

recourse” and “is at heightened risk for identity theft.” Id. The General Assembly noted that “[t]he

full ramifications of biometric technology are not fully known.” Id. § 14/5(e). Therefore, “[t]he

public welfare, security and safety will be served by regulating the collection, use, safeguarding,

handling, storage, retention, and destruction of biometric identifiers and information.” Id. §

14/5(f).

       4.      In addition to a fingerprint or voiceprint, BIPA’s definition of “biometric

identifiers” includes “a scan of hand or face geometry.” Id. § 14/10.

       5.      “Biometric information” is “any information, regardless of how it is captured,

converted, stored, or shared, based on an individuals’ biometric identifier and used to identify an

individual.” Id.

       6.      Through the Virtual Try-On feature, visitors to Helzberg’s website—including

Plaintiff and the other Class members—can view what they would look like wearing different

Helzberg jewelry items, including engagement rings. All a user must do is enable his or her

computer or smartphone camera to take a photo to be used by the website or upload a photo to the

website.
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 3 of 14 PageID #:3




        7.      But, unbeknownst to the website user—including Plaintiff and the other Class

members—Defendant collects detailed and sensitive biometric identifiers and information,

including complete hand geometry scans, of its users through the Virtual Try-On feature, and does

so without first obtaining their consent, or informing them that this data is being collected.

        8.      In addition, and in direct violation of BIPA, Defendant does not provide users with

a schedule setting out the length of time during which their biometric information or biometric

identifiers will be collected, stored, used, or destroyed.

                                              PARTIES

        9.      Plaintiff Roberson is, and at all times relevant hereto was, a natural person and a

permanent resident of the state of Illinois. She is 42 years old, has lived in the State of Illinois all

her life, and has resided in Lansing, Illinois for about 2 years. On about ten to twenty occasions

from January through October 2022, from her home in Lansing, Illinois, Ms. Roberson used

Helzberg’s Virtual Try-On feature on www.helzberg.com on her Android smartphone via the

Chrome browser, to see how her different engagement rings would look on her hand. She never

bought a product from Helzberg.

        10.     Defendant Helzberg is a limited liability company organized under the laws of

Missouri, with its headquarters and principal place of business at 1825 Swift Avenue North,

Kansas City, Missouri 64116. On April 30, 2020, it converted from a Missouri corporation called

“Helzberg’s Diamond Shops, Inc.” to a Missouri limited liability company called “Helzberg’s

Diamond Shops, LLC.” Helzberg conducts its jewelry selling business throughout the United

States, including in this District, both through its website and through various brick-and-mortar

stores including at least six in this District. Since 1995 it has been a wholly owned subsidiary of

Berkshire Hathaway.
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 4 of 14 PageID #:4




                                      JURISDICTION AND VENUE

        11.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d), because

the members of the putative class are of diverse citizenship from Defendant, there are more than

100 members of the putative class, and the aggregate amount in controversy exceeds $5,000,000,

exclusive of costs and interest.

        12.     The Court has personal jurisdiction over Defendant because Defendant has

purposefully availed itself of the privilege of conducting business in the state of Illinois, by

providing its online virtual try-on feature to customers in Illinois and using it to collect biometric

data from Illinois residents while they were in Illinois.

        13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events, omissions, and acts giving rise to the claim occurred in this District. Moreover,

Plaintiff resides in this District.

                                      FACTUAL ALLEGATIONS

        14.     Helzberg sells engagement and wedding rings, watches, and other jewelry at its

over 200 brick-and-mortar stores throughout the United States and through its website

www.helzberg.com.1

        15.     Defendant offers the Virtual Try-On feature to customers who visit its website from

a computer or smartphone web browser.2

        16.     While browsing Helzberg’s engagement or wedding ring or other hand jewelry

products from a smartphone web browser, after selecting custom options such as the type and size

of the diamond, the user is presented with a link that says “try it on.” Clicking the link



1
 https://www.helzberg.com/about-helzberg-diamonds.html (last visited Feb. 15, 2023).
2
 E.g., https://www.helzberg.com/engagement-rings/lab-grown-diamond-round-solitaire-
engagement-ring-with-taper-in-14k-white-gold-1-ct./2511731.html (last visited Feb. 15, 2023).
        Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 5 of 14 PageID #:5




automatically activates his or her smartphone camera with a hand outline superimposed on the

camera lens image. As the user moves his or her hand to line up with the hand outline, image(s)

are taken capturing the hand geometry.




         17.     If navigating www.helzberg.com from a web browser on a computer (rather than a

smartphone), upon clicking the “try it on” link the user is provided a QR code to scan with their

smartphone. The QR code links to a website which automatically activates the smartphone’s

camera to take the image(s) of the hand. On the smartphone web browser and back on the computer

web browser, the jewelry product is shown on the hand.

         18.     From there, the user can download the photo showing the jewelry product on his or

her hand and share it through email, social media, etc.

         19.     Defendant’s only attempt at providing any kind of disclosure to Plaintiff and the

Class comes in the form of a link to Defendant’s privacy policy. 3 However, this policy does not

inform the user how the user’s hand geometry (a biometric identifier protected by BIPA) is

collected, used, or retained in order to allow the Virtual Try-On feature to operate or otherwise.


3
    https://www.helzberg.com/privacy-and-security.html (last visited Feb. 15, 2023).
        Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 6 of 14 PageID #:6




         20.   Furthermore, Defendant lacks a publicly available written policy establishing a

retention schedule and guidelines for permanently destroying biometric identifiers or biometric

information obtained from consumers, as required by BIPA.

         21.   Upon information and belief, Defendant has not developed a written policy

establishing retention schedules and guidelines for permanently destroying consumers’ biometrics

and does not destroy such data within the timeframes established by BIPA.

         22.   At least 10 to 20 times from January through October 2022, from her home in

Lansing, Illinois, Plaintiff Roberson visited www.helzberg.com via the Chrome browser on her

Android smartphone and used the Virtual Try-On feature to try on various engagement rings she

was interested in.

         23.   Each time, after trying on the product, Ms. Roberson decided not to purchase it. As

such, Ms. Roberson did not set up an account on the website.

         24.   When Ms. Roberson used the Virtual Try-On feature, Defendant captured and

collected her hand geometry data. The Virtual Try-On feature could not have provided the

advertised experience if Defendant did not capture and collect Ms. Roberson’s hand geometry.

         25.   Ms. Roberson has never been informed of the specific purposes or length of time

for which Defendant collected, stored, or used her hand geometry; any biometric data retention

policy developed by Defendant; or whether Defendant will ever permanently delete her biometric

data.

                                   CLASS ALLEGATIONS

         26.   Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23

individually and on behalf of the following Class:
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 7 of 14 PageID #:7




       All natural persons whose biometric identifiers were captured by Defendant
       through use of the Virtual Try-On features on www.helzberg.com, while residing
       in Illinois.

       27.     Excluded from the Class are Defendant, its parents, subsidiaries, affiliates, officers,

and directors, all persons who make a timely election to be excluded from the Class, the judge to

whom this case is assigned and any immediate family members thereof, and the attorneys who

enter their appearance in this action.

       28.     Numerosity: The Class members are so numerous that individual joinder of all

Class members is impracticable. Upon information and belief, the Class exceeds 10,000 persons.

The precise number of Class members and their identities are unknown to Plaintiff at this time but

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the records of Defendant.

       29.     Commonality: There are numerous questions of law and fact common to the

Class, including but not limited to:

               a.      Whether Defendant captures, collects, stores, or distributes information that

       qualifies as “biometric information” or “biometric identifiers” of users of the Virtual Try-

       On Feature on Helzberg’s website, as defined by 740 ILCS §§ 14/10 & 14/15;

               b.      Whether Defendant failed to put in place a system or prompt to obtain an

       executed written release from users of Helzberg’s Virtual Try-On feature before capturing

       their biometric information and biometric identifiers;

               c.      Whether Defendant developed or made publicly available a written policy

       establishing a retention schedule and guidelines for destroying its Virtual Try-On feature

       users' biometric information and biometric identifiers;

               d.      Whether Defendant’s conduct was and is willful, reckless, or negligent;
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 8 of 14 PageID #:8




                e.      Whether Defendant is liable for damages, and the amount of such damages;

         and

                f.      The appropriate injunctive relief to which Plaintiff and the other Class

         members are entitled.

         30.    Typicality: Plaintiff’s claims are typical of the claims of the Class members, as

they are all based on the same factual and legal theories.

         31.    Adequacy of Representation: Plaintiff is a representative who will fully and

adequately assert and protect the interests of the Class and has retained competent counsel.

         32.    Declaratory and Injunctive Relief. Rule 23(b)(2) of the Federal Rules of Civil

Procedure: Defendant has acted or refused to act on grounds generally applicable to Plaintiff and

Class members, thereby making appropriate declaratory relief, with respect to the Classes as a

whole.

         33.    Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

Defendant from engaging in the acts described above, such as continuing to collect users’ hand

geometry data through the Virtual Try-On feature.

         34.    Unless a Class-wide injunction is issued, Defendant will continue to commit the

violations alleged and the members of the Class will continue to have their biometric information

collected in violation of Illinois law.

         35.    Superiority: In this lawsuit, a class action is superior to all other available methods

for its fair and efficient adjudication because individual litigation of the claims of all Class

members is economically infeasible and procedurally impracticable. This proposed class action

presents fewer management difficulties than individual litigation, and provides the benefits of
      Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 9 of 14 PageID #:9




single adjudication, economies of scale, and comprehensive supervision by a single court. Class

treatment will create economies of time, effort, and expense and promote uniform decision-

making.

          36.   Predominance:      Common questions of law and fact predominate over any

questions affecting only individual Class members. Similar or identical violations, business

practices, and injuries are involved. Individual questions, if any, pale by comparison, in both

quality and quantity, to the numerous common questions that dominate this action. If Defendant

intercepted Plaintiff’s and Class members’ communications, then Plaintiff and each Class member

suffered damages by that conduct.

                                      CAUSES OF ACTION

                                        COUNT I
                              Violation of 740 ILCS 14/15(b)
 Failure to Inform in Writing and Obtain Written Release from Users Prior to Capturing,
                       Collecting, or Storing Biometric Identifiers
                              Damages and Injunctive Relief

          37.   Plaintiff re-alleges and incorporates paragraphs 1 through 36 as if fully set forth

herein.

          38.   Plaintiff brings this claim individually and on behalf of the Class.

          39.   BIPA bars any private entity from collecting, capturing, purchasing, receiving

through trade, or otherwise obtaining a person’s or a customer’s biometric identifier or biometric

information, unless it “(1) informs the subject or the subject’s legally authorized representative in

writing that a biometric identifier or biometric information is being collected or stored; (2) informs

the subject or the subject’s legally authorized representative in writing of the specific purpose and

length of term for which a biometric identifier or biometric information is being collected, stored,
    Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 10 of 14 PageID #:10




and used; and (3) receives a written release executed by the subject of the biometric identifier or

biometric information or the subject’s legally authorized representative.” 740 ILCS § 14/15(b).

       40.       “Private entity” is defined as “any individual, partnership, corporation, limited

liability company, association, or other group, however organized.” Id. § 14/10.

       41.       As a limited liability company, Defendant is a “private entity” under BIPA.

       42.       A “scan of hand geometry” is one of the enumerated “biometric identifiers”

protected under BIPA. Id. § 14/10.

       43.       The Virtual Try-On feature on Helzberg’s website takes “scans of hand geometry,”

i.e., it captured and captures Plaintiff’s and the other Class members’ hand geometry information.

       44.       Plaintiff and the Class members were never informed in writing (nor were their

legally authorized representatives) that biometric identifiers were being collected, what the

specific purpose was, or the length of time the identifiers would be stored. Nor did Plaintiff or the

Class members (or their legally authorized representatives) ever execute a release as to the

biometric identifiers Defendant collected through the Virtual Try-On feature.

       45.       Defendant’s violations of Section 14/15(b) have harmed Plaintiff and Class

members. Accordingly, Plaintiff and Class members are entitled to liquidated damages of $1,000

per negligent violation, $5,000 per willful or reckless violation, or actual damages if greater than

the liquidated damages provided for by BIPA. Id. § 14/20.

       46.       In addition, Plaintiff and Class members are entitled to reasonable attorneys’ fees

and costs. Id.

       47.       Plaintiff and Class members are also entitled to an injunction against Defendant’s

collection of facial geometry data through the Virtual Try-On feature without written relief. Id.
    Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 11 of 14 PageID #:11




Absent injunctive relief, Defendant is likely continue collecting customers’ biometric identifiers

without written release.

          48.   Further, Plaintiff seeks an order requiring Defendant to disclose whether Defendant

has retained Plaintiff’s and the Class members’ biometric identifiers, how Defendant uses

Plaintiff’s and the Class members’ biometric identifiers, and the identities of any third parties with

which Defendant shared those biometric identifiers.

                                       COUNT II
                          VIOLATION OF 740 ILCS § 14/15(a)
    Failure to Develop and Make Publicly Available a Written Policy for Retention and
                           Destruction of Biometric Identifiers
                             Damages and Injunctive Relief

          49.   Plaintiff re-alleges and incorporates paragraphs 1 through 36 as if fully set forth

herein.

          50.   Plaintiff brings this claim individually and on behalf of the Class.

          51.   BIPA requires any private entity in possession of biometric identifiers or biometric

information to “develop a written policy, made available to the public, establishing a retention

schedule and guidelines for permanently destroying biometric identifiers and biometric

information when the initial purpose for collecting or obtaining such identifiers or information has

been satisfied or within 3 years of the individual’s last interaction with the private entity, whichever

occurs first.” Absent a valid warrant or subpoena, the private entity must comply with its retention

schedule and destruction guidelines. 740 ILCS § 14/15(a).

          52.   “Private entity” is defined as “any individual, partnership, corporation, limited

liability company, association, or other group, however organized.” Id. § 14/10.

          53.   As a limited liability company, Defendant is a “private entity” under BIPA.
    Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 12 of 14 PageID #:12




       54.       A “scan of hand geometry” is one of the enumerated “biometric identifiers”

protected under BIPA. Id. § 14/10.

       55.       The Virtual Try-On feature on Helzberg’s website takes “scans of hand geometry.”

       56.       On information and belief, Defendant has not developed a written policy

establishing a retention schedule and guidelines for permanently destroying the biometric

identifiers it collects through the Virtual Try-On feature on Helzberg’s website.

       57.       There is no publicly available written policy establishing a retention schedule and

guidelines for permanently destroying the biometric identifiers Defendant collects through the

Virtual Try-On feature on Helzberg’s website.

       58.       Defendant’s violations of Section 14/15(a) have harmed Plaintiff and Class

members. Accordingly, Plaintiff and Class members are entitled to liquidated damages of $1,000

per negligent violation, $5,000 per willful or reckless violation, or actual damages if greater than

the liquidated damages provided for by BIPA. Id. § 14/20.

       59.       In addition, Plaintiff and Class members are entitled to reasonable attorneys’ fees

and costs. Id.

       60.       Plaintiff and Class members are also entitled to an injunction requiring Defendant

to develop a written policy, made available to the public, establishing a retention schedule and

guidelines for permanently destroying the biometric identifiers it collects through its Virtual Try-

On feature on Helzberg’s website. Id.

       61.       Further, Plaintiff seeks an order requiring Defendant to disclose whether Defendant

has retained Plaintiff’s and the Class members’ biometric identifiers and if, when, and how those

biometric identifiers were destroyed.
     Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 13 of 14 PageID #:13




                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the other members of the Class

alleged herein, respectfully request that the Court enter judgment in her favor and against

Defendant as follows:

        A.      Certifying the Class under Federal Rule of Civil Procedure 23 and naming Plaintiff

as the representative for the Class and Plaintiff’s attorneys as Class Counsel;

        B.      Declaring that Defendant’s conduct violates BIPA;

        C.      Finding in favor of Plaintiff and the Class members on the claim asserted herein;

        D.      Awarding Plaintiff and the Class members liquidated damages of $1,000 per

negligent violation, $5,000 per willful or reckless violation, or actual damages, whichever is

greater for each at amounts to be determined by the Court or by the jury at trial;

        E.      Awarding Plaintiff and the Class members pre-judgment and post-judgment

interest; and

        G.      Enjoining Defendant to desist from further collection of biometric identifiers

without written release and to develop a written policy governing retention and deletion of

biometric information;

        F.      Awarding Plaintiff and the Class members their reasonable attorneys’ fees and

costs; and

        H.      Awarding such other and further relief as the Court deems appropriate.

                                   DEMAND FOR JURY TRIAL

        Plaintiff and the putative class members hereby demand a trial by jury, pursuant to Fed. R.

Civ. P. 38(b), on all issues so triable.

Dated: February 17, 2023.
Case: 1:23-cv-00988 Document #: 1 Filed: 02/17/23 Page 14 of 14 PageID #:14




                                        Respectfully submitted,

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